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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


   IN RE: NATIONAL PRESCRIPTION                                   MDL No. 2804
         OPIATE LITIGATION
                                                              Case No. 1:17-md-2804
     THIS DOCUMENT RELATES TO:
             ALL CASES                                        Hon. Dan Aaron Polster



 CERTAIN DEFENDANTS’ MOTION FOR LEAVE TO FILE MOTION FOR RELIEF
         CONCERNING IMPROPER EXTRAJUDICIAL STATEMENTS
                AND VIOLATIONS OF COURT ORDERS

        The undersigned Defendants move this Court for leave to file the annexed Motion for

Relief Concerning Improper Extrajudicial Statements and Violation of Court Orders and

memorandum in support thereof.

        Lawyers representing plaintiffs in this litigation are engaged in a concerted campaign to

taint potential jury pools in this district—and across the country—through misleading,

inflammatory, and improper public statements. Their behavior, which reached a crescendo on

national TV during a recent episode of 60 Minutes, is a flagrant violation of their ethical

obligations as attorneys practicing before this Court and threatens defendants’ rights to a fair

adjudication of the claims asserted against them. Certain statements by plaintiffs’ counsel also

have violated this Court’s express orders. These lawyers’ professional misconduct is so far

outside the bounds of appropriate behavior as to warrant a gag order and other sanctions. Such

steps are necessary to help mitigate the unfair and prejudicial effects of the misconduct and to

deter similar misconduct in the future. The essential fairness of this proceeding and the rights of

the parties are at stake.




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       For these reasons and those more fully set forth in the annexed motion and memorandum

in support, the Court should grant Defendants leave to file the annexed Motion for Relief

Concerning Improper Extrajudicial Statements and Violation of Court Orders and memorandum

in support thereof.

January 4, 2019                              Respectfully submitted,


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